          Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 1 of 7




    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                           No. 17-504V
                                    Filed: November 28, 2018
                                       Not to be Published

*************************************
ERIC LEE,                                      *
                                               *
                                               *                 Damages based on stipulation;
               Petitioner,                     *                 influenza (“flu”) vaccine; Bell’s
                                               *                 palsy
 v.                                            *
                                               *
SECRETARY OF HEALTH                            *
AND HUMAN SERVICES,                            *
                                               *
               Respondent.                     *
                                               *
*************************************
Danielle A. Strait, Seattle, WA, for petitioner.
Christine M. Becer, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

         On November 28, 2018, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that he suffered from
Bell’s palsy that was caused by his receipt of influenza (“flu”) vaccine on October 8, 2015. He
further alleges that he experienced the residual effects of this injury for more than six months.
Respondent denies that the flu vaccine caused petitioner to suffer Bell’s palsy or any other

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). This means the decision will be available to anyone with access to the
Internet. Vaccine Rule 18(b) states that all decisions of the special masters will be made available to the
public unless they contain trade secrets or commercial or financial information that is privileged and
confidential, or medical or similar information whose disclosure would constitute a clearly unwarranted
invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and move to delete
such information prior to the document’s disclosure. If the special master, upon review, agrees that the
identified material fits within the banned categories listed above, the special master shall delete such
material from public access.
          Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 2 of 7



injury. Nonetheless, the parties agreed to resolve this matter informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$85,500.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a). The award shall be in the form of a check for $85,500.00 made payable to
petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: November 28, 2018                                          /s/ Laura D. Millman
                                                                   Laura D. Millman
                                                                      Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 3 of 7
Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 4 of 7
Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 5 of 7
Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 6 of 7
Case 1:17-vv-00504-UNJ Document 43 Filed 12/28/18 Page 7 of 7
